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                                                                                 E-FILED
                                                      Friday, 28 March, 2025 10:32:38 AM
                                                            Clerk, U.S. District Court, ILCD




                        In The Matter Of:
                           GHOLAMI v.
BOARD OF TRUSTEES OF THE UNIVERSITY OF ILLINOIS




                         DENNIS PAPINI
                        November 14, 2024




      Area Wide Reporting and Video Conferencing
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                 Champaign, IL 61820




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 1            IN THE UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS
 2                    SPRINGFIELD DIVISION

 3
     ROGHIEH GHOLAMI,                    )
 4                                       )
                 Plaintiff,              )
 5                                       )
          vs.                            )   No. 22-cv-3268-SEM-KLM
 6                                       )
     BOARD OF TRUSTEES OF THE            )
 7   UNIVERSITY OF ILLINOIS,             )
                                         )
 8               Defendant.              )

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16
17                 DEPOSITION OF DENNIS PAPINI
                UNIVERSITY OF ILLINOIS SPRINGFIELD
18                  HATMAKER CONFERENCE ROOM
                      SPRINGFIELD, ILLINOIS
19                      NOVEMBER 14, 2024
                           10:33 A.M.
20

21

22

23

24               Reported and Transcribed by:
           Rhonda Rhodes Bentley, CSR #084-002706
25

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     APPEARANCES:
 2   For the Plaintiff:

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                                                                            4

 1                             STIPULATION

 2

 3                 IT IS HEREBY EXPRESSLY STIPULATED AND

 4   AGREED by and between the parties that the

 5   deposition of DENNIS PAPINI may be taken on

 6   November 14, 2024, at the University of Illinois

 7   Springfield, Hatmaker Conference Room,

 8   Springfield, Illinois, pursuant to the applicable

 9   Supreme Court rules, local rules, and the Code of

10   Civil Procedure governing said depositions.
11

12                 IT IS FURTHER STIPULATED that the
13   necessity for calling the Court Reporter for

14   impeachment purposes is waived.

15

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                                DENNIS PAPINI

                                                                             5

 1                             10:33 a.m.

 2                         DENNIS PAPINI,

 3   having first been duly sworn, testifies as

 4   follows:

 5                             EXAMINATION

 6   BY MR. BAKER:

 7         Q.      All right.        Sir, would you please

 8   state your full name.

 9         A.      Dennis R. Papini.

10         Q.      And, Dr. Papini, have you ever been
11   deposed before?

12         A.      No.
13         Q.      Okay.       Well, all I'm going to be

14   doing is asking you a series of questions.                  We've

15   got a court reporter here who is trying to take

16   down everything we say, and in order to make her
17   job easy and for us to have a clear transcript,

18   there are a few rules you and I should try and

19   follow.    Number one, oftentimes I'll ask a

20   question, you'll know what I'm going to ask, and

21   human nature is just to interject a response.                   If

22   you do that, you and I might understand it, but

23   the transcript isn't going to come out very well.

24   So please even if you know what I'm going to ask,

25   let me finish my question before you answer.

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                                DENNIS PAPINI

                                                                             6

 1   Okay?

 2           A.     Uh-huh.

 3           Q.     And that gets me to number two.               You

 4   just said uh-huh.         Again I'm fully aware of what

 5   you said.     Everybody knows what you meant, but if

 6   we do that, it sometimes gets lost on the

 7   transcript.     So try and avoid uh-huhs and huh-uhs

 8   and nods of the head.         Even though I would

 9   understand it, it's going to get not transcribed

10   properly so a yes or a no is more proper, okay?
11           A.     Yes.

12           Q.     Perfect.      If you don't understand
13   something I've asked, it's probably because I

14   haven't asked it very well.           Just let me know and

15   I'll rephrase that, okay?

16           A.     Yes.
17           Q.     I don't think this is going to take

18   terribly long, but if you need a break at any

19   point in time for any reason just let me know and

20   we'll certainly arrange for that, okay?

21           A.     Okay.

22           Q.     All right.       Are you currently

23   employed at UIS?

24           A.     Yes.

25           Q.     All right.       And what is your current

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                                DENNIS PAPINI

                                                                             7

 1   position at UIS?

 2          A.     Professor of psychology.

 3          Q.     And what college is that in?

 4          A.     That's in the College of Health and

 5   Science.

 6          Q.     How long in total have you been at

 7   UIS?

 8          A.     I came to UIS in the fall of '17.

 9          Q.     Fall of 2017?

10          A.     2017, yes.
11          Q.     Okay.       Where were you before that?

12          A.     I was at South Dakota State
13   University.

14          Q.     How long had you been at South Dakota

15   State?

16          A.     Five years.
17          Q.     How long have you been in higher

18   education?

19          A.     Since 1983.

20          Q.     When you came to UIS in 2017 what

21   position did you come into?

22          A.     Vice Chancellor For Academic Affairs

23   and Provost.

24          Q.     Were you also -- when you also came

25   in at that time, did you also come in as a

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                                DENNIS PAPINI

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 1   tenured faculty member?

 2          A.     I came in as a tenured professor,

 3   yes.

 4          Q.     Was that a tenured full professor?

 5          A.     Yes.

 6          Q.     And I assume that would have been in

 7   psychology?

 8          A.     Yes.

 9          Q.     As vice chancellor and provost did

10   you actually teach courses as well?
11          A.     I did not teach while I was the

12   provost.
13          Q.     Okay.       And how long were you the

14   provost?

15          A.     From fall of 2017 until January of

16   '23.
17          Q.     What are the responsibilities of the

18   position of provost at UIS?

19          A.     The provost is the chief academic

20   officer of the university.           So all of the

21   academic enterprises, the teaching, the

22   scholarship, the faculty service, the supervision

23   and leadership of faculty, the curriculum, all of

24   that falls under the office of the provost.

25          Q.     And as provost whom do you report to?

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                                DENNIS PAPINI

                                                                               9

 1          A.      I report to the chancellor.

 2          Q.      And during the period of time that

 3   you were provost, was there just one chancellor

 4   or was there more than one?

 5          A.      There was more than one.               I was hired

 6   under Chancellor Susan Cook.            When she retired,

 7   an interim was appointed.           For two years I worked

 8   with her, and then Susan was hired as the

 9   chancellor, and I'm sorry, not Susan.

10                  MS. POWELL:         Janet.
11                  THE WITNESS:        Janet.

12                  MS. POWELL:         Sorry.
13                  MR. BAKER:      Go ahead, please.

14   BY MR. BAKER:

15          Q.      What is Janet's last name for the

16   record?
17                  Teresa if you want to help, you can.

18                  MS. POWELL:         Gooch.

19          A.      Yeah.      I -- I've been undergoing

20   cancer treatment so my -- I get a little foggy

21   with -- with names and things like that --

22          Q.      Okay.

23          A.      -- but I --

24          Q.      Okay.

25                  MS. POWELL:         I only know because it's

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                                DENNIS PAPINI

                                                                            10

 1   on the wall.

 2                  THE WITNESS:        Yeah.

 3   BY MR. BAKER:

 4          Q.      Well, do you need to -- I mean we can

 5   reschedule this if you need to.

 6          A.      The therapy is going to be ongoing.

 7   So no, it's not that I don't -- I -- it's a

 8   retrieval problem.        I just can't seem to retrieve

 9   some information, but if it's there and I can

10   access it and if I can't access it or I'm having
11   trouble, I will -- I will indicate that.

12          Q.      Okay.      All right.     Well, thank you
13   for letting me know that.           I wish you well in

14   your treatments but if you need to stop or -- I

15   don't want to do anything that's going to

16   compromise your health.
17          A.      No, it's -- it's something that you

18   just deal with it.

19          Q.      Okay.      All right.     So you came in the

20   fall of 2017.      How many different colleges are

21   there or I guess were there in 2017?

22          A.      There were four colleges in 2017.

23          Q.      Is that still the same today?

24          A.      It is still the same today though the

25   composition and the names of the colleges have

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                                DENNIS PAPINI

                                                                            11

 1   been changed.

 2          Q.      Okay.      In 2017 do you recall, sir,

 3   what the names of the four colleges were?

 4          A.      College of Arts and Sciences, College

 5   of Education, College of Business and Management,

 6   College of Public Affairs.          I think that's it.

 7          Q.      Okay.      Would each of the four

 8   colleges have had its own dean?

 9          A.      Yes.

10          Q.      And can you describe for me what the
11   responsibility of a dean of a college would be?

12          A.      The responsibility of the dean of the
13   college is to provide leadership and oversight to

14   the academic functioning within their unit.

15          Q.      And would the dean report directly to

16   the provost?
17          A.      Yes.

18          Q.      Do you recall when you took over in

19   2017 who was the dean of the College of Business

20   and Management?

21          A.      Yes, that was Dean McNeil.

22          Q.      And how long did Dean McNeil remain,

23   do you recall?

24          A.      He retired I believe at the end of my

25   first year.     It might have been the second year,

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                                DENNIS PAPINI

                                                                            12

 1   but I think -- I think it was the first year.

 2          Q.      And then do you recall who took his

 3   place?

 4          A.      I don't.     I'd have to go back and

 5   look at it.

 6          Q.      All right.      Do you recall at some

 7   point Dr. Bhattacharya came into that position?

 8          A.      Yeah, I hired Dr. Bhattacharya.

 9          Q.      Were you familiar with a professor in

10   the College of Business and Management named Roya
11   Gholami?

12          A.      Yes.
13          Q.      All right.      And how did you become --

14   well, let me backtrack a little bit here.                 I

15   assume as provost there are a lot of professors

16   who work at the University of Illinois; is that
17   correct?

18          A.      Yes.

19          Q.      University of Illinois Springfield I

20   guess I should call it.

21          A.      Yeah, there are about a little over

22   200.

23          Q.      All right.      So fair to say you don't

24   have close personal relationships with each of

25   the professors?

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                                DENNIS PAPINI

                                                                            13

 1          A.      That's correct.

 2          Q.      All right.      I assume there are some

 3   who you would know better than others?

 4          A.      Yes.

 5          Q.      But you don't have a day-to-day

 6   interaction --

 7          A.      No.

 8          Q.      -- with all of the professors?              Okay.

 9   How -- when you came in how was -- could you

10   describe your relationship with Professor
11   Gholami?

12          A.      I was aware of Professor Gholami at
13   -- basically as a result of her research.                 She

14   was -- she was doing some interesting work in --

15   in her field and in her department, and that's

16   kind of how I became aware of her.
17          Q.      All right.      And how did you become

18   aware that she was doing that research?                Was that

19   information that was shared with you, or was that

20   information --

21          A.      It -- faculty do annual reports, and

22   the provost office produces a list of all of

23   their research activity for a given year, and it

24   was through that.

25          Q.      Okay.      So initially when you came in,

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                                DENNIS PAPINI

                                                                              14

 1   did you have any sort of a personal relationship

 2   with Professor Gholami, and by that I mean, you

 3   know, communicate with her, talk to her?

 4          A.      No.

 5          Q.      Okay.      At any point in time did you

 6   have any one-on-one contact with Professor

 7   Gholami?

 8          A.      Yes.

 9          Q.      And when was that, do you recall?

10          A.      I don't recall.
11          Q.      Do you recall what the circumstances

12   of that were?
13          A.      I don't know if there were any prior

14   to her leaving, but when she resigned I did ask

15   her to do an exit interview with me.

16          Q.      Okay.
17          A.      And that was the -- that's the one

18   that comes to mind.

19          Q.      Okay.      So let me ask you this.

20   Before that exit interview, do you recall having

21   any, you know, one-on-one types of meetings with

22   Professor Gholami?

23          A.      There may have been.           I just don't

24   recall them.

25          Q.      Okay.      Fine.    Go ahead.         I'm sorry.

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                                DENNIS PAPINI

                                                                            15

 1          A.      No, that -- that was discussed at

 2   that meeting, so no, I don't -- I don't recall

 3   any.

 4          Q.      Okay.      So with Professor Gholami, you

 5   had an exit interview with her; is that correct?

 6          A.      Yes.

 7          Q.      And was there anybody else present

 8   for that interview?

 9          A.      No.

10          Q.      Okay.      Is it normal for you to do an
11   exit interview when a professor leaves?

12          A.      It is not -- it is not a common
13   practice, but when valued professors leave, I

14   generally do do an exit interview to find out,

15   you know, why they're -- why they're leaving.

16          Q.      And so was Professor Gholami's exit
17   interview, was that done at your request or --

18          A.      At my request.

19          Q.      Okay.      And do you recall why it was

20   that you wanted to speak with Dr. Gholami?

21          A.      Yes, I viewed her as a valuable

22   member of our faculty and wanted to know, you

23   know, why she was leaving and if there was

24   anything that -- that we could do to keep her,

25   and so on.

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                                                                            16

 1           Q.     At the time you had the exit

 2   interview, had you ever heard of any complaints

 3   or criticisms about Dr. Gholami from her college?

 4           A.     No.

 5           Q.     So you met with Dr. Gholami for the

 6   exit interview, and do you recall what she told

 7   you during that meeting?

 8           A.     Yes, we talked about a number of

 9   things.      The thing that really caught my

10   attention was her concern about the leadership of
11   Professor Hadidi who was the -- oh, he wasn't the

12   chair.    He was the head of the department.
13           Q.     That would have been the MIS

14   department?

15           A.     That would have been the MIS

16   department.
17           Q.     Okay.      And do you recall did she

18   provide you with any detail of what her concerns

19   were?

20           A.     She -- yeah, she said that she was

21   very uncomfortable around Dr. Hadidi, that he had

22   asked her to lunch once and she had declined and

23   that that made her uncomfortable, not that he was

24   -- again she kind of reiterated that he wasn't

25   persistent, but that that one episode had

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                                DENNIS PAPINI

                                                                            17

 1   happened and that his presence made her

 2   uncomfortable.

 3          Q.      Anything else that she expressed at

 4   that time during the exit interview?

 5          A.      Not that I can -- not that I can

 6   think of.

 7          Q.      Okay.      Was there any discussion about

 8   the possibility of her maybe returning in the

 9   future at that point in time?

10          A.      I asked her if -- if she -- if Dr.
11   Hadidi were no longer the head, would she

12   consider returning, and she indicated that she
13   would.

14          Q.      Okay.      Anything else that you can

15   recall about that exit interview?

16          A.      The exit interview itself?
17          Q.      Yeah.

18          A.      No.

19          Q.      Okay.      After the exit interview did

20   you have conversations with anyone about what

21   Roya had expressed to you?

22          A.      Yeah, I -- I -- I had -- I had had

23   some concerns with Dr. Hadidi's autocratic

24   leadership style, and this was the first I had

25   heard of him potentially asking his -- a direct

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                                                                             18

 1   -- someone he has direct supervisory

 2   responsibility for out to lunch.

 3                  Now, I didn't know -- I didn't know

 4   exactly what the full parameters of all that

 5   were.    So I had a conversation with university

 6   counsel as to whether this was something that I

 7   should report to our equity officer or not.

 8                  MR. BAKER:      Okay.      And I assume,

 9   Teresa, you would invoke attorney-client

10   privilege on those communications?
11                  MS. POWELL:         Yes.   I assume that was

12   with Rhonda Perry?
13                  THE WITNESS:        Rhonda Perry, yes.

14                  MS. POWELL:         Yes, I would assert

15   attorney-client privilege for whatever she told

16   him and whatever he told her.
17   BY MR. BAKER:

18           Q.     Yeah, so we're going to avoid any

19   conversations that you had with Rhonda Perry.

20   Did you ultimately report that incident to anyone

21   else?

22           A.     I did not.

23           Q.     Okay.      Did you ever speak to Dr.

24   Hadidi about it?

25           A.     I did not.

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                                DENNIS PAPINI

                                                                            19

 1          Q.      Did you ever express any concerns to

 2   Dr. Bhattacharya when he came in about that

 3   issue?

 4          A.      I expressed concerns about Dr.

 5   Hadidi's leadership style.

 6          Q.      What specifically did you express

 7   concerns to -- or excuse me -- to Dr.

 8   Bhattacharya about regarding Dr. Hadidi?

 9          A.      That he -- his leadership style

10   seemed to be to cower the faculty and that I did
11   not think that was an appropriate nor productive

12   approach to academic leadership.
13          Q.      Did you provide him with any specific

14   or concrete examples of that?

15          A.      No.

16          Q.      All right.      Did you identify any
17   faculty members who had complained about that?

18          A.      No.

19          Q.      Did you in any way suggest to Dr.

20   Bhattacharya that he might want to think about

21   having somebody else as head of the

22   MIS department?

23          A.      I don't think that anything to that

24   effect was directly stated.

25          Q.      As far as the head of a department or

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                                DENNIS PAPINI

                                                                            20

 1   the chair of a department, does the dean of the

 2   college have the ability to remove that

 3   individual from that role, or is that something

 4   that only the department can do?

 5          A.      This gets into some tricky policy

 6   issues.     The chairs serve at the pleasure of the

 7   dean, but the way -- the way our policies at that

 8   time were written it was unclear if the dean

 9   could remove a chair or a head.             It was written

10   as if the faculty needed to.           Now, since then
11   those policies have been revised.              The dean can

12   remove a chair or a head without the consent of
13   the faculty.

14          Q.      And my understanding is that Dr.

15   Hadidi did leave the role of head and was

16   replaced by a Dr. Li?
17          A.      Yes.

18          Q.      I think that was the name.

19          A.      Dr. Hadidi retired --

20          Q.      Okay.

21          A.      -- as had Dean McNeil before him.

22          Q.      So when it came to Dr. Hadidi, did

23   you have concerns other than what Roya Gholami

24   had brought to you?

25          A.      Yes, I had -- I even before Roya came

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                                DENNIS PAPINI

                                                                            21

 1   to me and shared her experiences, I had the

 2   opportunity to observe and to hear from several

 3   other faculty.

 4          Q.      Do you recall who those faculty

 5   members were?

 6          A.      I -- I don't recall their names.

 7   I -- they were -- they were concerned, and they

 8   did not -- they did not want to appear to be

 9   speaking to the provost for fear that Dr. Hadidi

10   would find out and there might be some kind of
11   retaliation.

12          Q.      And do you recall approximately --
13   were these all MIS professors?

14          A.      MIS.

15          Q.      And do you recall how many MIS

16   professors had come to you with that concern?
17          A.      One or two.

18          Q.      And do you recall either -- the names

19   of either one of them?

20          A.      It -- I think Dr. -- Dr. Li may have

21   been one of them --

22          Q.      Okay.

23          A.      -- but I -- I don't recall.

24          Q.      And so --

25          A.      Maybe --

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                                                                      Exhibit 2
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                                DENNIS PAPINI

                                                                             22

 1          Q.      I'm sorry?

 2          A.      Dr. Li -- is there a Dr. Wang in the

 3   -- he may -- and he was a younger faculty member.

 4   I think maybe it was Dr. Wang.

 5          Q.      Okay.      There's a faculty member named

 6   -- is it Tei-Wei Wang?

 7                  MS. POWELL:         Tei-Wei Wang.

 8                  THE WITNESS:        Yeah.

 9   BY MR. BAKER:

10          Q.      Did Professor Wang complain or
11   address concerns with you?

12          A.      He may have, yes.
13          Q.      Okay.      What makes you think it might

14   have been Professor Wang?

15          A.      Because I remember he was a newer

16   faculty member at that time.            He was -- he was
17   not of the old guard.         He was in the -- kind of

18   the new guard, the younger.

19          Q.      Do you recall the nature of the

20   concerns that he expressed to you?

21          A.      The leadership concerns, the -- kind

22   of the heavy-handed.         It's, you know, my way or

23   the highway, and the lack of listening, the

24   unaccountability, it -- just a number of issues.

25          Q.      Did you have discussions with any

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                                DENNIS PAPINI

                                                                            23

 1   other professors within the department that you

 2   can recall?

 3          A.      No.

 4          Q.      And I think I asked this, but you did

 5   have some discussions with Dr. Bhattacharya when

 6   he came in about your concerns regarding Hadidi?

 7          A.      Yes.

 8          Q.      And then Hadidi retired as a

 9   professor or just retired from the --

10          A.      He retired as a professor.             He had
11   taken a job at a university in Minneapolis.

12   Apparently he had family there.             So he wanted --
13   he wanted to get back to his family closer.

14          Q.      So the issue of Dr. Hadidi's

15   leadership at the MIS department sort of resolved

16   itself?
17          A.      Yes.

18          Q.      How was it that you found Dr.

19   Bhattacharya?      How did you --

20          A.      We -- there was a national search.

21   He was one of the three or four finalists.

22          Q.      And as provost was it your

23   responsibility to do the hiring or lead the

24   search?

25          A.      Yeah, not to lead the search but to

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                                                                      Exhibit 2
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                                DENNIS PAPINI

                                                                            24

 1   do the hiring.

 2          Q.      Okay.      And was that a recommendation

 3   that you would make to the chancellor, or was

 4   that pretty much your decision to make?

 5          A.      There was a college level search

 6   committee.     They vetted all of the candidates,

 7   selected the final lists, made their

 8   recommendations to the provost.             The provost then

 9   recommended the hiring to the chancellor.

10          Q.      When the selection committee makes
11   the recommendation, do they just recommend their

12   top candidate or do they say any of these three
13   or four candidates?

14          A.      I typically -- I typically ask search

15   committees for a specific recommendation, but

16   I -- I do ask that they indicate if the other
17   candidates are acceptable or unacceptable so I

18   don't want a rank ordering, but I -- I do

19   entertain a preferred candidate approach.

20          Q.      Okay.      So the committee would come to

21   you and say here's our preferred candidate, here

22   are the other candidates, and for each of those

23   here we would say that they are acceptable?

24          A.      Here are their strengths and

25   weaknesses; acceptable, unacceptable, yes.

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                                DENNIS PAPINI

                                                                            25

 1          Q.      Okay.      And was Dr. Bhattacharya the

 2   preferred candidate of the recommendation or of

 3   the search committee?

 4          A.      I believe he was.

 5          Q.      All right.      And at some point in time

 6   did you learn that Professor Gholami was

 7   interested in returning to the university?

 8          A.      Yes, I had -- of course, at the exit

 9   interview I had verbally indicated that if she

10   were willing to return should Dr. Hadidi depart
11   that we would welcome her, and I -- I think I

12   sent an email to her when Dr. Hadidi announced
13   his retirement indicating that he would be

14   leaving and that she should apply for the

15   position if she were interested.

16          Q.      And did you have any further
17   communications directly one-on-one with Roya,

18   whether they be verbally or by email?

19          A.      I don't think so.

20          Q.      Okay.      And do you recall having

21   conversations with Dr. Bhattacharya about Roya

22   Gholami returning?

23          A.      Yes.

24          Q.      And what do you recall about those

25   conversations?

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                                                                      Exhibit 2
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                                DENNIS PAPINI

                                                                            26

 1           A.     I recall kind of sharing with him

 2   kind of the back story, that this was someone who

 3   was a good faculty member, left, and was now

 4   given Dr. Hadidi's retirement thinking about

 5   coming back.      So that was -- that was the nature

 6   of the conversation.

 7           Q.     Did you express to him the reasons

 8   why Roya had told you she had left originally?

 9           A.     I don't think so.

10           Q.     How did Dr. Bhattacharya respond to
11   the indication that Roya was interested in coming

12   back?
13           A.     He -- he seemed happy about that.

14           Q.     Okay.      Did he ever express any sort

15   of a concern to you about bringing her back?

16           A.     Not that I recall.
17           Q.     Okay.      Did you -- once Roy had

18   expressed an interest in returning and you had

19   talked to Dr. Bhattacharya, did you ever hear

20   directly or indirectly of concerns from

21   individuals within the MIS department?

22           A.     No, this was a -- this was a little

23   bit of a different search.           This was conducted

24   with a search waiver, and so the usual search

25   process wasn't followed.           The search waiver

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                                 DENNIS PAPINI

                                                                             27

 1   allowed us to seek out an individual for a

 2   position because we knew Roya, she was a known

 3   commodity to us.          The department still had to

 4   approve her hiring.          Their recommendation needed

 5   to be approved by the dean, and the dean's needed

 6   to be approved by the provost, the provost by the

 7   chancellor.     So that process was still in place,

 8   but no, I never heard anything from anyone about

 9   her return --

10           Q.     Okay.
11           A.     -- until after.

12           Q.     Okay.
13           A.     Okay.

14           Q.     When you say until after, after she

15   had signed to return or after she had actually

16   come back to campus?
17           A.     After she had signed I believe.

18           Q.     Okay.       And what did you hear at that

19   time?

20           A.     Roya contacted me and said that she

21   had received a call from Dr. -- I think Wang --

22   she didn't -- she didn't say his name, and she --

23   but she had received a call from a colleague who

24   in her words had literally blasted her for

25   returning, and so I did hear that.

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                                                                       Exhibit 2
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                                DENNIS PAPINI

                                                                            28

 1          Q.      Okay.      And that was something you

 2   heard directly from Roya?

 3          A.      From Roya, yes.

 4          Q.      Okay.      Did you do anything with that

 5   information?     Did you talk to anybody about it?

 6          A.      Yeah, I talked -- I talked to the

 7   dean and asked him to -- to kind of follow up.

 8   It is not in my view good practice for individual

 9   faculty to reach out to new hires and deliver

10   that message if in fact that's -- that's what was
11   said or how it was said.

12          Q.      Okay.      And did the dean ever get back
13   to you on what he had learned?

14          A.      No.

15          Q.      Did you hear any more about that?

16          A.      No.
17          Q.      All right.      Did you hear any other

18   expressions of concern about Roya returning from

19   anyone?

20          A.      No.

21          Q.      So the only concern about the return

22   would have been from Roya telling you herself

23   what had happened?

24          A.      Yes.

25          Q.      Then as far as negotiating the terms

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                                                                      Exhibit 2
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                                DENNIS PAPINI

                                                                            29

 1   of a return or negotiating the terms of a

 2   professor's employment, what -- who is

 3   responsible for doing that?

 4           A.     The dean is responsible for

 5   negotiating the contract.

 6           Q.     Okay.      And --

 7           A.     Subject to approval by the provost.

 8           Q.     Okay.      Is it possible for a new hire

 9   to come into the university as a full professor?

10           A.     If they have been awarded the rank of
11   full professor at a -- at a comparable

12   institution, yes.
13           Q.     Okay.      So it is possible to come in

14   as a full professor?

15           A.     It is.

16           Q.     Okay.      And is there any policy on
17   that?

18           A.     There is.

19           Q.     Okay.      And is that a written

20   UIS policy that spells that out?

21           A.     Yes.

22           Q.     All right.      And fair to say you would

23   expect the dean to follow the actual written

24   policy?

25           A.     Yes.

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                                                                      Exhibit 2
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                                 DENNIS PAPINI

                                                                                30

 1          Q.      Okay.       And when Roya was brought in,

 2   she was brought in as an assistant professor?

 3          A.      Yes.       No.   No.    No.     No, she was --

 4   when she was rehired?

 5          Q.      Yes.

 6          A.      She was rehired as an associate

 7   professor.

 8          Q.      Associate professor.              I'm sorry.      I

 9   get it mixed -- I know there are three ranks.

10          A.      Yeah.
11          Q.      Full, assistant, and associate?

12                  MS. POWELL:          Wrong.
13          A.      Assistant, associate, full.

14   BY MR. BAKER:

15          Q.      So she was brought in at the second

16   level?
17          A.      Yeah.       Now, when she -- when she

18   resigned she had just been promoted to associate

19   professor and awarded tenure.

20          Q.      And as far as determining the level

21   that she would come in at, is it your

22   understanding that was done based strictly off of

23   UIS's policies?

24          A.      Yes.

25          Q.      And again that's the written

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                                                                          Exhibit 2
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                                DENNIS PAPINI

                                                                            31

 1   policies?

 2          A.      The written policies, yes.

 3          Q.      After Roya returned to the

 4   university, did you ever hear of any concerns or

 5   complaints or criticism about Roya's work at the

 6   university?

 7          A.      No.

 8          Q.      Did you have any further

 9   communications directly with Roya about any

10   concerns that she had?
11          A.      No.

12                  MR. BAKER:      Okay, Doctor.         I don't
13   believe I have any more questions for you.

14   Teresa Powell has the floor so she might have

15   some for you.

16                             EXAMINATION
17   BY MS. POWELL:

18          Q.      I just have a couple follow-ups for

19   you.   It's my understanding that Dr. Hadidi had

20   left before Dr. -- or Professor Gholami started

21   again in the fall of 2019; is that correct?

22          A.      That's correct.

23          Q.      Okay.      And you approved the contract

24   that Professor Gholami signed regarding her

25   rehire as an associate professor and her salary,

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                                DENNIS PAPINI

                                                                            32

 1   correct?

 2          A.      Correct.

 3          Q.      Okay.      And was it Dr. Bhattacharya's

 4   decision to determine that Professor Gholami's

 5   position at NEOMA, that NEOMA was not a

 6   comparable institution?

 7          A.      That's correct.

 8          Q.      Okay.      And I believe it was your

 9   recommendation that Professor Gholami be given

10   tenure upon her return; is that correct?
11          A.      That's correct.

12          Q.      And typically when professors are
13   hired, most, if not all of them, other than

14   Professor Gholami would have to work here for a

15   certain period of time before being given tenure;

16   is that correct?
17          A.      That's correct.

18          Q.      And with respect to the voting, the

19   department did vote to allow her to return,

20   correct?

21          A.      Yes.

22          Q.      And to the present day Professor

23   Gholami has never followed the process in order

24   to be promoted to full professor since her return

25   in 2019, correct?

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                                 DENNIS PAPINI

                                                                              33

 1           A.     Correct.

 2           Q.     And have you had any communications

 3   with her directly about that?

 4           A.     Yes.       I -- I certainly encouraged her

 5   to apply for full professorship.                One of the --

 6   there are some areas that are negotiable.                   The

 7   policy stipulates that you need six years in rank

 8   before applying to the next rank, and there are

 9   years -- it is possible that years of credit

10   spent somewhere else can be applied to that --
11   that six-year requirement.             So when in fact she

12   is eligible to apply for full professorship here
13   would depend on whether prior service credit was

14   accepted.

15           Q.     To your knowledge has anyone

16   indicated to her that she cannot apply to be a
17   full professor?

18           A.     Not that I'm aware of.

19                  MS. POWELL:          Okay.    That's all I

20   have.

21                       FURTHER EXAMINATION

22   BY MR. BAKER:

23           Q.     I just want to follow up.               Professors

24   are brought into UIS as full professors, correct?

25           A.     Yes, not routinely but they -- it

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                                DENNIS PAPINI

                                                                             34

 1   does occur.

 2          Q.      And professors sometimes get brought

 3   in with tenure; is that fair?

 4          A.      That -- that also is -- it's not

 5   common, but it is possible.

 6                  MR. BAKER:      Okay.      All right.       I have

 7   no further questions.

 8                  MS. POWELL:         I don't either.        You

 9   have the right to reserve your signature and read

10   the transcript just to make sure the court
11   reporter took down everything that you're saying

12   accurately, or you can waive that right.
13                  MR. BAKER:      Verbal answers.

14                  THE WITNESS:        Okay.     Oh, yeah, I'm

15   waiving affirmative.

16                  (The deposition was concluded at
17   11:13 a.m., and the signature of the deponent was

18   waived.)

19

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                                                                            35

 1                             CERTIFICATION

 2            I, Rhonda Rhodes Bentley, CSR, a
     Certified Shorthand Reporter (IL), do hereby
 3   certify that DENNIS PAPINI, came before me on
     November 14, 2024, and swore before me to testify
 4   to the truth, the whole truth and nothing but the
     truth regarding his knowledge touching upon the
 5   matter in controversy.

 6               I do further certify that I did take
     stenographic notes of the questions propounded to
 7   said witness and his answers thereto and that
     said notes were reduced to typewritten form under
 8   my direction and supervision.

 9               I do further certify that the
     attached and foregoing is a true, correct and
10   complete copy of my notes and that said testimony
     is now herewith returned. I do further certify
11   that said deposition was taken at the University
     of Illinois Springfield, Hatmaker Conference
12   Room, Springfield, Illinois.
13               I do further certify that I am not
     related in any way to any of the parties involved
14   in this action and have no interest in the
     outcome thereof. Dated at Divernon, Illinois,
15   the 12th day of December, 2024.

16
17

18
                      ___________________________________
19                    Rhonda Rhodes Bentley, CSR
                      CSR# 084-002706
20

21

22

23

24

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GHOLAMI v.                                                                                                DENNIS PAPINI
BOARD OF TRUSTEES OF THE UNIVERSITY OF ILLINOIS                                                          November 14, 2024

                         approximately (1)        blasted (1)               colleges (5)             couple (1)
          A                 21:12                   27:24                     10:20,22,25;11:3,8       31:18
                         areas (1)                break (1)                 coming (2)               course (1)
ability (1)                 33:6                    6:18                      26:5,11                  25:8
   20:2                  around (1)               bringing (1)              committee (4)            courses (1)
Academic (5)                16:21                   26:15                     24:6,10,20;25:3          8:10
   7:22;8:19,21;11:14;   arrange (1)              brought (6)               committees (1)           court (2)
   19:12                    6:20                    20:24;30:1,2,15;          24:15                    5:15;34:10
acceptable (3)           Arts (1)                   33:24;34:2              commodity (1)            cower (1)
   24:17,23,25              11:4                  Business (3)                27:3                     19:10
accepted (1)             assert (1)                 11:5,19;12:10           common (2)               credit (2)
   33:14                    18:14                                             15:12;34:5               33:9,13
access (2)               assistant (3)                       C              communicate (1)          criticism (1)
   10:10,10                 30:2,11,13                                        14:3                     31:5
accurately (1)           associate (6)            call (3)                  communications (4)       criticisms (1)
   34:12                    30:6,8,11,13,18;         12:20;27:21,23           18:10;25:17;31:9;        16:3
activity (1)                31:25                 came (12)                   33:2                   current (1)
   13:23                 assume (5)                  7:8,20,24;8:2;         comparable (2)             6:25
actual (1)                  8:6;12:15;13:2;          10:19;12:7;13:9,25;      29:11;32:6             currently (1)
   29:23                    18:8,11                  19:2;20:22,25;23:6     complain (1)               6:22
actually (2)             attention (1)            campus (1)                  22:10                  curriculum (1)
   8:10;27:15               16:10                    27:16                  complained (1)             8:23
address (1)              attorney-client (2)      can (12)                    19:17
   22:11                    18:9,15                  9:17;10:4,9;11:10;     complaints (2)                     D
Affairs (2)              autocratic (1)              17:5,5,14;20:4,11;       16:2;31:5
   7:22;11:6                17:23                    23:2;33:10;34:12       composition (1)          Dakota (2)
affirmative (1)          avoid (2)                cancer (1)                  10:25                    7:12,14
   34:15                    6:7;18:18                9:20                   compromise (1)           day (1)
Again (4)                awarded (2)              candidate (4)               10:16                    32:22
   6:4;16:24;30:25;         29:10;30:19              24:12,19,21;25:2       concern (5)              day-to-day (1)
   31:21                 aware (5)                candidates (4)              16:10;21:16;26:15;       13:5
ahead (2)                   6:4;13:12,16,18;         24:6,13,17,22            28:18,21               deal (1)
   9:13;14:25               33:18                 caught (1)                concerned (1)              10:18
allow (1)                                            16:9                     21:7                   dean (17)
   32:19                           B              certain (1)               concerns (13)              11:8,11,12,15,19,
allowed (1)                                          32:15                    16:18;17:23;19:1,4,      21,22;20:1,7,8,11,21;
   27:1                  back (8)                 certainly (2)               7;20:23;22:11,20,21;     27:5;28:7,12;29:4,23
announced (1)              12:4;23:13;26:2,5,        6:20;33:4                23:6;26:20;31:4,10     dean's (1)
   25:12                   12,15;27:16;28:12      chair (4)                 concluded (1)              27:5
annual (1)               backtrack (1)               16:12;20:1,9,12          34:16                  decision (2)
   13:21                   12:14                  chairs (1)                concrete (1)               24:4;32:4
Apparently (1)           BAKER (12)                  20:6                     19:14                  declined (1)
   23:12                   5:6;9:13,14;10:3;      Chancellor (9)            conducted (1)              16:22
appear (1)                 18:8,17;22:9;30:14;       7:22;8:9;9:1,3,6,9;      26:23                  deliver (1)
   21:8                    31:12;33:22;34:6,13       24:3,9;27:7            consent (1)                28:9
applied (1)              based (1)                changed (1)                 20:12                  DENNIS (2)
   33:10                   30:22                     11:1                   consider (1)               5:2,9
apply (4)                basically (1)            chief (1)                   17:12                  depart (1)
   25:14;33:5,12,16        13:13                     8:19                   contact (1)                25:10
applying (1)             became (1)               circumstances (1)           14:6                   department (13)
   33:8                    13:16                     14:11                  contacted (1)              13:15;16:12,14,16;
appointed (1)            become (2)               clear (1)                   27:20                    19:22,25;20:1,4;23:1,
   9:7                     12:13;13:17               5:17                   contract (2)               15;26:21;27:3;32:19
approach (2)             better (1)               close (1)                   29:5;31:23             depend (1)
   19:12;24:19             13:3                      12:24                  conversation (2)           33:13
appropriate (1)          Bhattacharya (11)        closer (1)                  18:5;26:6              deponent (1)
   19:11                   12:7,8;19:2,8,20;         23:13                  conversations (4)          34:17
approval (1)               23:5,19;25:1,21;       colleague (1)               17:20;18:19;25:21,     deposed (1)
   29:7                    26:10,19                  27:23                    25                       5:11
approve (1)              Bhattacharya's (1)       college (13)              Cook (1)                 deposition (1)
   27:4                    32:3                      7:3,4;11:4,4,5,6,11,     9:6                      34:16
approved (3)             bit (2)                     13,19;12:10;16:3;      counsel (1)              describe (2)
   27:5,6;31:23            12:14;26:23               20:2;24:5                18:6                     11:10;13:10

Min-U-Script®                          Area Wide Reporting and Video Conferencing                       (1) ability - describe
                                                    1-800-747-6789                                   Exhibit 2
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